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                        IN UNITED STATES DISTRICT COURT
 1
                         FOR THE DISTRICT OF COLORADO
 2

 3
     Civil Action No. 1:16-cv-02755-CMA-NYW
 4
     JOSEPH A. KOVACH,
 5

 6
           Plaintiff,

 7           v.
 8
     NAVIENT SOLUTIONS, INC.,
 9
           Defendant.
10

11
        FIRST AMENDED COMPLAINT AND DEMAND FOR JURY TRIAL
12
           JOSEPH A. KOVACH (“Plaintiff”), by and through his attorneys,
13

14   KIMMEL & SILVERMAN, P.C., alleges the following against NAVIENT

15   SOLUTIONS, INC. (“Defendant”):
16
                                      INTRODUCTION
17
           1.     Plaintiff’s Complaint is based on the Telephone Consumer Protection
18

19   Act (“TCPA”), 47 U.S.C. § 227 et seq.
20                             JURISDICTION AND VENUE
21
           2.     Jurisdiction of this Court arises pursuant to 28 U.S.C. § 1331. See
22
     Mims v. Arrow Fin. Services, LLC, 132 S. Ct. 740, 747, 181 L. Ed. 2d 881 (2012).
23

24         3.     Defendant conducts business in the State of Colorado and as such,
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     personal jurisdiction is established.

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           4.     Venue is proper pursuant to 28 U.S.C. § 1391(b)(2).
 1

 2                                        PARTIES
 3
           5.     Plaintiff is a natural person residing in Centennial, Colorado 80122.
 4
           6.     Plaintiff is a “person” as that term is defined by 47 U.S.C. § 153(39).
 5

 6
           7.     Defendant is a corporation that does business in Colorado and

 7   maintains its principle place of business at 123 Justison Street, Wilmington,
 8
     Delaware 19801.
 9
           8.     Defendant is a “person” as that term is defined by 47 U.S.C.
10

11   §153(39).

12         9.     Defendant acted through its agents, employees, officers, members,
13
     directors, heirs, successors, assigns, principals, trustees, sureties, subrogees,
14
     representatives, and insurers.
15

16                              FACTUAL ALLEGATIONS
17         10.    Plaintiff has a cellular telephone number that he has had for more
18
     than one year.
19
           11.    The phone number has been assigned to a cellular telephone service
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21   for which Plaintiff incurs a charge for incoming calls.
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           12.    Beginning in or before May 2015, Defendant placed repeated
23
     harassing telephone calls to Plaintiff on his cellular telephone.
24

25



                                                2

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           13.    When calling Plaintiff, Defendant used an automatic telephone dialing
 1

 2   system and automatic and/or pre-recorded messages.
 3
           14.    Defendant’s calls were not made for “emergency purposes.”
 4
           15.    Plaintiff knew Defendant used an automatic telephone dialing system
 5

 6
     and automatic and/or pre-recorded message as calls would begin with an

 7   automated message before they would be transferred to a live caller.
 8
           16.    Annoyed by the repeated calls, Plaintiff spoke with Defendant in late
 9
     May and mid-August and told them to stop calling him, revoking consent for any
10

11   future communications to his cellular telephone.

12         17.    Although Plaintiff’s revocations were heard, Defendant ignored his
13
     request, and continued to call Plaintiff on his cellular telephone.
14
           18.    Once Defendant was aware its calls were unwanted there was no
15

16   lawful purpose for continued calls to his cellular telephone.
17         19.    Upon information and belief, Defendant conducts business in a
18
     manner which violates the telephone consumer protection act.
19

20
                          DEFENDANT VIOLATED THE
                    TELEPHONE CONSUMER PROTECTION ACT
21
           20.    Plaintiff incorporates the forgoing paragraphs as though the same were
22

23   set forth at length herein.

24         21.    Defendant initiated multiple automated telephone calls to Plaintiff’s
25
     cellular telephone using a prerecorded voice.

                                                3

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           22.    Defendant initiated these automated calls to Plaintiff using an
 1

 2   automatic telephone dialing system.
 3
           23.    Defendant’s calls to Plaintiff were not made for emergency purposes.
 4
           24.    Defendant’s calls to Plaintiff, specifically in and after late May 2015,
 5

 6
     were not made with Plaintiff’s prior express consent.

 7         25.    Defendant’s acts as described above were done with malicious,
 8
     intentional, willful, reckless, wanton and negligent disregard for Plaintiff’s rights
 9
     under the law and with the purpose of harassing Plaintiff.
10

11         26.    The acts and/or omissions of Defendant were done unfairly,

12   unlawfully, intentionally, deceptively and fraudulently and absent bona fide error,
13
     lawful right, legal defense, legal justification or legal excuse.
14
           27.    As a result of the above violations of the TCPA, Plaintiff has suffered
15

16   the losses and damages as set forth above entitling Plaintiff to an award of
17   statutory, actual and trebles damages.
18
                                   PRAYER FOR RELIEF
19
           WHEREFORE, Plaintiff, JOSEPH A. KOVACH, respectfully prays for a
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21   judgment as follows:
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                  a.     All actual damages suffered pursuant to 47 U.S.C. §
23
                         227(b)(3)(A);
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                                                 4

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                   b.      Statutory damages of $500.00 per telephone call pursuant to 47
 1

 2                         U.S.C. § 227(b)(3)(B);
 3
                   c.      Treble damages of $1,500 per telephone call pursuant to 47
 4
                           U.S.C. §227(b)(3) or alternatively that amount for all calls
 5

 6
                           made after Defendant was notified that they were calling the

 7                         wrong person and wrong number;
 8
                   d.      Injunctive relief pursuant to 47 U.S.C. § 227(b)(3);
 9
                   e.      Any other relief deemed appropriate by this Honorable Court.
10

11                               DEMAND FOR JURY TRIAL

12          PLEASE TAKE NOTICE that Plaintiff, JOSEPH A. KOVACH, demands a
13
     jury trial in this case.
14
                                               RESPECTFULLY SUBMITTED,
15

16
       DATED: June 30, 2017                KIMMEL & SILVERMAN, P.C.
17

18                                       By:/s/ Amy L. Bennecoff Ginsburg____
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                                PLAINTIFF’S FIRST AMENDED COMPLAINT
